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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


                                    CASE NO. 16-20715-CR-COOKE


     UNITED STATES OF AMERICA,

                    Plaintiff,

     vs.

     CRAIG SIZER,

                    Defendant.


                    PRELIMINARY ORDER OF FORFEITURE, INCLUDING A
                            FORFEITURE MONEY JUDGMENT

            THIS CAUSE is before the Court upon motion of the United States of America (hereafter

     "United States" or "Government") for entry of a preliminary order of forfeiture, including a

     forfeiture money judgment and the forfeiture of substitute assets, against Craig Sizer (hereafter

     "Sizer" or "defendant"), pursuant to Title 18, United States Code, Section 982(a)(8) and Rule

     32.2(b)(2), Federal Rules of Criminal Procedure. Being fully advised in the premises the Court

     finds as follows:

             1.     On September 22, 2016, a federal grand jury returned an indictment ("Indictment")

     charging Sizer, and others, with conspiracy to commit wire fraud and mail fraud, in violation of

     Title 18, United States Code, Section 1349 (Count 1), among other charges. [ECF No. 3].

            2.      The Indictment included forfeiture allegations. The forfeiture allegations provided

     for the forfeiture of any property, real or personal, used or intended to be used to commit, to

     facilitate, or to promote the commission of such offense; and, constituting, derived from, or

     traceable to the gross proceeds that the defendant obtained directly or indirectly as a result of the


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     offense, pursuant to Title 18, United States Code, Section 982(a)(8). Moreover, it provided for the

     entry of a forfeiture money judgment in the gross amount of the fraud proceeds obtained as a result

     of the alleged conspiracy. Id.

            3.      On oraboutFebruary 23, 2017, Sizerpled guilty to conspiracy to commit wire fraud

     and mail fraud, in violation of Title 18, United States Code, Section 1349 (Count 1). The defendant

     also agreed to the forfeiture of 555 N.E. 57 Street, Miami, Fl. (hereafter the "Property"); and, to

     entry of a forfeiture money judgment of $22,456,186. 00, which sum represents the gross proceeds

     obtained as a result of the conspiracy alleged in Count 1, pursuant to Title 18, United States Code,

     Section 982(a)(8). See Plea Agreement. [ECF No. 170].

            4.      The United States filed a Motion for a Preliminary Order of Forfeiture, Including a

     Forfeiture Money Judgment (hereafter "Motion for Order of Forfeiture") in which it requests the

     entry of a preliminary order of forfeiture, including a forfeiture money judgment.

             5.     The entry of a preliminary order of forfeiture setting forth the amount of a money

     judgment and directing the forfeiture of specific property is specifically authorized by Rule 32.2(b)

     of the Federal Rules of Criminal Procedure.

            Therefore, upon motion of the United States, and for good cause shown, it is hereby

     ORDERED as follows:

             1.     The United States' Motion for Entry of a Preliminary Order of Forfeiture, Including

     a Forfeiture Money Judgment is GRANTED;

            2.      A money judgment in the amount of$22,456,186.00 is hereby entered against Craig

     Sizer, pursuant to Title 18, United States Code, Section 982(a)(8) and Rule 32.2, Federal Rules of

     Criminal Procedure;




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             3.      All right, title and interest of Craig Sizer in the following property is forfeited to

     the United States pursuant to Title 18, United States Code, Section 982(a)(8):

                            a.       555 N.E. 57 Street, Miami, FL;

            4.       The Federal Bureau of Investigation or any duly authorized law enforcement

     agency shall seize and take custody of the Property pursuant to Title 21, United States Code,

     Section 853(g);

             5.      The United States shall publish notice of this Preliminary Order of Forfeiture in

     accordance with Rule 32.2(b)(6) of the Federal Rules of Criminal Procedure;

             6.      The United States shall provide, to the extent practicable, direct written notice to

     any person known to have a legal interest in the Property;

            7.       Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this Order

     of Forfeiture is final as to Sizer's right, title, and interest in the Property and shall be made a part

     of Sizer's sentence and included in the judgment and commitment order;

             8.      The United States is further authorized, pursuant to Title 21, United States Code,

     Section 853(m) and Rule 32.2(c)(l) of the Federal Rules of Criminal Procedure, to conduct any

     discovery necessary, including depositions, to identify, locate or dispose of the Property in order

     to expedite ancillary proceedings related to any third party petition claims filed with respect to the

     Property; and

             9.      Upon adjudication of all third-party interests, this Court will enter a Final Order of

     Forfeiture in which all interests will be addressed. If no claims are filed within 30 days of the final

     publication of notice or the receipt of actual notice, whichever is earlier, then, pursuant to Rule

     32.2(c)(2), this Order of Forfeiture shall be deemed a Final Order of Forfeiture and the Federal




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     Bureau of Investigation or any duly authorized law enforcement agency shall dispose of the

     Property according to law.

            DONE AND ORDERED at Miami,



                                              MARCIA G. COOKE              ..
                                              UNITED STATES DISTRICT JUDGE




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